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                                    UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF GEORGIA
                                            ATLANTA DIVISION

In re: HP/SUPERIOR, INC.                                 §        Case No. 14-71797-PWB
                                                         §
                                                         §
                                                         §
                      Debtor(s)


                                  NOTICE OF TRUSTEE’S FINAL REPORT AND
                                    APPLICATIONS FOR COMPENSATION
                                      AND DEADLINE TO OBJECT (NFR)

          Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that S. Gregory Hays,
trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s professionals have
filed final fee applications, which are summarized in the attached Summary of Trustee’s Final Report and
Applications for Compensation.
        The complete Final Report and all applications for compensation are available for inspection at the
Office of the Clerk, at the following address:

                                           1340 Richard B. Russell Bldg.
                                               75 Ted Turner Drive, SW
                                                  Atlanta, GA 30303
          Pursuant to Second Amended and Restated General Order No. 24-2018, the Court may consider this
matter without further notice or a hearing if no party in interest files a response or objection within twenty-one
(21) days from the date of service of this notice. If you object to the relief requested in this pleading, you must
timely file your objection with the Bankruptcy Clerk at: Bankruptcy Clerk, U.S. Bankruptcy Court, Suite 1340, 75
Ted Turner Drive, S.W., Atlanta, Georgia 30303, and serve a copy on the Trustee, S. Gregory Hays, 2964
Peachtree Road, NW, Ste 555, Atlanta, GA 30305, and any other appropriate persons by the objection
deadline. The response or objection must explain your position and be actually received by the Bankruptcy
Clerk within the required time.

        A hearing on the pleading has been scheduled for August 11, 2022. The Court will hold an initial
telephonic hearing for announcements on Trustee's Final Report and the Trustee’s professionals final fee
applications at the following number: toll free number 833-568- 8864; Meeting ID 161 794 3084 at 10:00 A.M.
in Courtroom 1401, United States Courthouse, 75 Ted Turner Drive, SW, Atlanta, Georgia 30303.

         Matters that need to be heard further by the Court may be heard by telephone, by video conference, or
in person, either on the date set forth above or on some other day, all as determined by the Court in connection
with this initial telephonic hearing. Please review the “Hearing Information” tab on the judge’s webpage, which
can be found under the “Dial-in and Virtual Bankruptcy Hearing Information” link at the top of the webpage for
this Court, www.ganb.uscourts.gov for more information.

          If an objection or response is timely filed and served, the hearing will proceed as scheduled. If you do
not file a response or objection within the time permitted, the Court may grant the relief requested without
further notice or hearing provided that an order approving the relief requested is entered at least one business
day prior to the scheduled hearing. If no objection is timely filed, but no order is entered granting the relief
requested at least one business day prior to the hearing, the hearing will be held as scheduled.

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        Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may wish to consult one.

Date Mailed: 06/29/2022                                   By:: /s/ S. Gregory Hays
                                                                            Chapter 7 Trustee
S. Gregory Hays
2964 Peachtree Road, NW, Ste. 555
Atlanta, GA 30305
(404) 926-0060




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                                       UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF GEORGIA
                                               ATLANTA DIVISION

In re:HP/SUPERIOR, INC.                                       §      Case No. 14-71797-PWB
                                                              §
                                                              §
                                                              §
                        Debtor(s)


                                     SUMMARY OF TRUSTEE’S FINAL REPORT
                                     AND APPLICATIONS FOR COMPENSATION

                   The Final Report shows receipts of :                              $                      3,289,667.06
                   and approved disbursements of:                                    $                      2,641,041.63
                   leaving a balance on hand of1:                                    $                       648,625.43

              Claims of secured creditors will be paid as follows:

  Claim       Claimant             Claim Asserted         Allowed Amount of        Interim Payments to             Proposed
  No.                                                                Claim                       Date               Payment
  1-4S        Internal               1,957,835.17                 1,248,000.00               900,000.00                  0.00
              Revenue
              Service
  4           Badger                           0.00                       0.00                       0.00                0.00
              Acquisition of
              Minnesota
              d/b/a Omnicare
              of Minnesota
  5           CSE Mortgage             133,065.92                  755,677.20                559,889.50                  0.00
              LLC
  9-1S        Wisconsin                        0.00                       0.00                       0.00                0.00
              Department of
              Revenue
  9-2S        Wisconsin                273,533.76                  273,533.76                        0.00                0.00
              Department of
              Revenue




           1The  balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
      earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
      receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
      account of the disbursement of the additional interest.

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  Claim     Claimant           Claim Asserted     Allowed Amount of      Interim Payments to          Proposed
  No.                                                        Claim                     Date            Payment
  15-1S     State of                     0.00                    0.00                      0.00            0.00
            Wisconsin,
            DWD -
            Unemployment
            Insurance State
            of Wisconsin,
            DWD - UI

  15-2Sa    State of                48,944.38              48,944.38                       0.00       48,944.38
            Wisconsin,
            DWD -
            Unemployment
            Insurance State
            of Wisconsin,
            DWD - UI

  15-2Sb    State of              312,230.10             312,230.10                        0.00            0.00
            Wisconsin,
            DWD -
            Unemployment
            Insurance State
            of Wisconsin,
            DWD - UI

  18S       Badger                615,670.86             615,670.86                 615,670.86             0.00
            Acquisition of
            Minnesota LLC

                                           Total to be paid to secured creditors:      $               48,944.38
                                           Remaining balance:                          $              599,681.05

            Applications for chapter 7 fees and administrative expenses have been filed as follows:
  Reason/Applicant                                                      Total           Interim       Proposed
                                                                    Requested       Payments to        Payment
                                                                                          Date
  Trustee, Fees - S. Gregory Hays                                   121,940.01               0.00    121,940.01
  Trustee, Expenses - S. Gregory Hays                                   3,774.58             0.00      3,774.58
  Accountant for Trustee, Fees - Hays Financial Consulting,         125,102.50        93,287.50       31,815.00
  LLC
  Accountant for Trustee, Expenses - Hays Financial                     2,076.78           927.89      1,148.89
  Consulting, LLC
  Charges, U.S. Bankruptcy Court                                        5,600.00             0.00      5,600.00




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  Reason/Applicant                                                      Total         Interim       Proposed
                                                                    Requested     Payments to        Payment
                                                                                        Date
  Fees, United States Trustee                                              0.00           0.00              0.00
  Fees, United States Trustee                                         6,210.88            0.00       6,210.88
  Attorney for Trustee Fees (Other Firm) - Arnall Golden            559,953.50     444,953.50     115,000.00
  Gregory LLP
  Attorney for Trustee Expenses (Other Firm) - Arnall Golden          3,542.59       2,663.63             878.96
  Gregory LLP

                 Total to be paid for chapter 7 administrative expenses:              $             286,368.32
                 Remaining balance:                                                   $             313,312.73

            Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                      Total         Interim       Proposed
                                                                    Requested     Payments to        Payment
                                                                                        Date
  Attorney for D-I-P Fees (Chapter 11) - Scroggins &                 73,877.33            0.00      18,402.15
  Williamson, PC
  Administrative Rent (post-petition storage fees, leases) - CSE    463,979.83            0.00    115,573.00
  Mortgage LLC
  Prior Chapter Other Operating Expenses - AEGIS Therapies           81,352.46            0.00      20,264.13
  Inc.
  Prior Chapter Other Operating Expenses - annLeo, Inc.             101,146.03            0.00      25,194.52
  Prior Chapter Other Operating Expenses - Merwin LTC                30,038.41            0.00       7,482.28
  Pharmacy
  Prior Chapter Other Operating Expenses - Royalton Manor,           23,980.31            0.00       5,973.27
  LLC c/o Scott B. Riddle, Esq.
  Taxes on Administrative Post-Petition Wages (employer             231,561.35            0.00      57,679.75
  payroll taxes) - Internal Revenue Service
  Taxes on Administrative Post-Petition Wages (employer              85,035.65            0.00      21,181.58
  payroll taxes) - State of Wisconsin, DWD
  Taxes on Administrative Post-Petition Wages (employer                    0.00           0.00              0.00
  payroll taxes) - Internal Revenue Service
  Taxes on Administrative Post-Petition Wages (employer                    0.00           0.00              0.00
  payroll taxes) - State of Wisconsin, DWD
  Taxes on Administrative Post-Petition Wages (employer             166,855.14            0.00      41,562.05
  payroll taxes) - State of Wisconsin




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                  Total to be paid for prior chapter administrative expenses:             $          313,312.73
                  Remaining balance:                                                      $                0.00

                In addition to the expenses of administration listed above as may be allowed by the Court,
       priority claims totaling $2,084,011.92 must be paid in advance of any dividend to general (unsecured)
       creditors.
                Allowed priority claims are:
  Claim       Claimant                            Allowed Amount         Interim Payments            Proposed
  No.                                                    of Claim                  to Date            Payment
  1-4P        Internal Revenue Service                1,461,313.52                      0.00               0.00
  8-1P        State of Minnesota,                              0.00                     0.00               0.00
              Department of Revenue
              Bankruptcy Section
  8-2P        State of Minnesota                         19,471.78                      0.00               0.00
              Department of
              RevenueBankruptcy Section
  9-1P        Wisconsin Department of                          0.00                     0.00               0.00
              Revenue
  9-2P        Wisconsin Department of                    75,461.94                      0.00               0.00
              Revenue
  13          City of Superior                           13,391.85                      0.00               0.00
  14          James A. Faunce-                                 0.00                     0.00               0.00
              Zimmerman
  15-1P       State of Wisconsin, DWD -                        0.00                     0.00               0.00
              Unemployment Insurance
              State of Wisconsin, DWD - UI
  15-2P       State of Wisconsin, DWD -                  34,987.08                      0.00               0.00
              Unemployment Insurance
              State of Wisconsin, DWD - UI
  16          Internal Revenue Service                   38,060.61                      0.00               0.00
  20          Douglas County Wisconsin                  424,115.37                      0.00               0.00
              Corporation Counsel
  22P         State of Minnesota                         14,434.77                      0.00               0.00
              Department of Revenue
  27P         James A. Faunce-                            2,775.00                      0.00               0.00
              Zimmerman

                                                Total to be paid for priority claims:     $                    0.00
                                                Remaining balance:                        $                    0.00




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               The actual distribution to wage claimants included above, if any, will be the proposed
       payment less applicable withholding taxes (which will be remitted to the appropriate taxing
       authorities).
               Timely claims of general (unsecured) creditors totaling $12,506,756.36 have been allowed
       and will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
       The timely allowed general (unsecured) dividend is anticipated to be 0.0 percent, plus interest (if
       applicable).
              Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                               Allowed Amount        Interim Payments                Proposed
  No.                                                       of Claim                 to Date                Payment
  1           Internal Revenue Service                           0.00                    0.00                    0.00
  1-2         Internal Revenue Service                           0.00                    0.00                    0.00
  1-3         Internal Revenue Service                           0.00                    0.00                    0.00
  1-4U        Internal Revenue Service                       1,400.00                    0.00                    0.00
  2           American Healthtech                            1,474.78                    0.00                    0.00
  3           Charter Communications                           941.03                    0.00                    0.00
              Attention: Cash Management
  6           Royalton Manor LLC c/o                       18,828.64                     0.00                    0.00
              Robert R. Kanuit
              Fryberger,Buchanan,Smith&F
              rederick,PA
  7           Otis Elevator Company, et.al.                  1,660.47                    0.00                    0.00
              Attn.Treasury Services-
              Credit/Coll.
  8-1U        State of Minnesota,                                0.00                    0.00                    0.00
              Department of Revenue
              Bankruptcy Section
  8-2U        State of Minnesota                             9,997.46                    0.00                    0.00
              Department of Revenue
  10          UnitedHealthcare Insurance                     6,759.50                    0.00                    0.00
              Company c/o Rachel A.
              Smith, CDM, UHC
  11          Service Electric of Superior                   1,984.98                    0.00                    0.00
  12-1        ARAMARK Uniform & Career                           0.00                    0.00                    0.00
              Apparel, LLC c/o Sheila R.
              Schwager Hawley Troxell
              Ennis & Hawley,LLP
  12-2        ARAMARK Uniform & Career                     76,159.43                     0.00                    0.00
              Apparel, LLC




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  Claim   Claimant                            Allowed Amount       Interim Payments      Proposed
  No.                                                of Claim                to Date      Payment
  17      SFM Mutual Insurance                      10,153.00                  0.00          0.00
          Company Commercial
          Collectors, Inc.
  21      Crest Electronics Inc.                       761.01                  0.00          0.00
  22U     State of Minnesota                           350.69                  0.00          0.00
          Department of Revenue
          Bankruptcy Section
  24      Loy Gotham                                 2,434.96                  0.00          0.00
  25      State of Wisconsin-Dept. of            3,030,595.00                  0.00          0.00
          Health Services
  26      Select Rehabilitation, Inc.              375,450.21                  0.00          0.00
  27U     James A. Faunce-                             330.00                  0.00          0.00
          Zimmerman
  29      DeWitt Ross & Stevens S.C.                38,519.63                  0.00          0.00
  30      Professional Portable X-Ray                  777.09                  0.00          0.00
          PPX a/k/a Professional
          Portable Radiologic Services
          Inc. Alex Sagadin
  31      Amerisure Mutual Insurance                 9,170.00                  0.00          0.00
          Company c/o Timothy M.
          Rose Amerisure Legal
          Operations
  32      Pan-O-Gold Baking Co.                        924.32                  0.00          0.00
  33      Till, Salzer & Blank Ltd.                    259.50                  0.00          0.00
  34      Service Electric of Superior               1,984.98                  0.00          0.00
          Inc. Service Electric, Inc
  36      Merwin LTC Pharmacy                       74,978.98                  0.00          0.00
  37      Cathy L. Scarver as Trustee            2,662,000.00                  0.00          0.00
          for the Bankruptcy Est
  38      Badger Acquisition of                  6,178,860.70                  0.00          0.00
          Minnesotad/b/a Omnicare of
          Minnesota

                 Total to be paid for timely general unsecured claims:            $           0.00
                 Remaining balance:                                               $           0.00




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            Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will
    be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
    claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus
    interest (if applicable).
           Tardily filed general (unsecured) claims are as follows:
  Claim    Claimant                              Allowed Amount        Interim Payments              Proposed
  No.                                                   of Claim                 to Date              Payment

                                                      None

                   Total to be paid for tardily filed general unsecured claims:       $                       0.00
                   Remaining balance:                                                 $                       0.00

            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
    ordered subordinated by the Court totaling $209,587.39 have been allowed and will be paid pro rata
    only after all allowed administrative, priority and general (unsecured) claims have been paid in full.
    The dividend for subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if
    applicable).
            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
    ordered subordinated by the Court are as follows:

  Claim    Claimant                              Allowed Amount        Interim Payments              Proposed
  No.                                                   of Claim                 to Date              Payment
  1-4SUB Internal Revenue Service                     187,994.17                   0.00                      0.00
  9-1U     Wisconsin Department of                           0.00                  0.00                      0.00
           Revenue
  9-2U     Wisconsin Department of                     21,593.22                   0.00                      0.00
           Revenue

                                            Total to be paid for subordinated claims: $                       0.00
                                            Remaining balance:                        $                       0.00




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                                               Prepared By: /s/ S. Gregory Hays
                                                                         Chapter 7 Trustee
    S. Gregory Hays
    2964 Peachtree Road, NW, Ste. 555
    Atlanta, GA 30305
    (404) 926-0060




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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